           Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 1 of 8



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,                                 )
                                                       )
                               Plaintiff,              )   Civil Action No. 1:17-cv-11008-MLW
                                                       )
                         v.                            )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.,                                         )
                                                       )
                               Defendants.             )
                                                       )
                                                       )

                  JANSSEN’S LIST OF PENDING MOTIONS (CORRECTED) 1

         Following the October 12, 2017 proceedings, the Court ordered the parties to provide a

list of the pending motions in the case and whether they should be decided before or after the

close of damages discovery. (10/12/2017 Lobby Conf. Tr. 6.) The Court also ordered that, after

the close of damages discovery on March 16, 2018, the parties are “to confer and report by

March 30 whether either side feels it has a proper basis for a motion for summary judgment

. . . .” (Id. at 5-6.)

         Janssen’s list of pending motions follows.

I.       PENDING SUMMARY JUDGMENT MOTION

         Defendants moved for partial summary judgment of non-infringement of the ’083 patent

on several grounds (Dkt. No. 264), as to all but one of which the Court denied the motion. The

only remaining aspect of Defendants’ partial summary judgment motion is whether Defendants

are entitled to judgment as a matter of law on Janssen’s claim of inducement of infringement


1
 All cited docket numbers are with reference to Case No. 1:15-cv-10698-MLW which, pursuant to the
dismissal order in that case (Dkt. No. 584), are considered part of the record in this case.
         Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 2 of 8



with respect to Defendant Hospira. (See Dkt. No. 265, at 17-19.) At oral argument on

Defendants’ motion, the Court requested supplemental briefing on whether Hospira is liable for

infringement on theories of joint enterprise, agency, or contract. (Dkt. No. 344; Dkt. No. 378.)

The Court has yet to decide this aspect of Defendants’ motion.

       Because the undecided aspect of Defendants’ motion impacts the scope of Janssen’s

infringement claim and therefore, potentially, the scope of its damages theory, Janssen believes

that this motion should be resolved before the close of damages discovery.

       CORRECTION (10-20-18):

       On reflection, any difference in the scope of damages discovery would be immaterial.

Hospira controls the defense of this case, whether or not it is a party, and so granting the motion

will not excuse Hospira from further participation in the case. Moreover, because Hospira

markets and distributes Defendants’ biosimilar the United States, the scope of fact discovery will

be substantially the same whether or not this motion is granted. Nevertheless, Janssen has no

objection to Defendants' request that this motion be decided before the close of damages

discovery.

II.    MOTIONS IN LIMINE

       A.      Janssen’s Motions

               1.      Janssen’s Motion in Limine to Limit the Testimony of Michael
                       Glacken (Dkt No. 341; Dkt. No. 343)

       Janssen moved to preclude Defendants’ technical expert Dr. Glacken from presenting

certain testimony before the jury based on Fed. R. Evid. 702 and principles of patent law.

Specifically, Janssen moved to preclude Dr. Glacken from (a) testifying before the jury as to

purported legal limitations on the doctrine of equivalents, such as vitiation, ensnarement, and

notice to potential infringers, (b) incorrectly conflating the test for obviousness with the test for

                                                  2
           Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 3 of 8



infringement under the doctrine of equivalents, (c) presenting testimony regarding indefiniteness

or that the claims are obvious, and (d) introducing for the first time an opinion that the

differences between the ’083 patent and the accused products are substantial as a matter of

science.

         Janssen does not anticipate that resolution of this motion will have any impact on the

scope of damages discovery. As a result, Janssen does not believe this motion needs to be

resolved until prior to trial.

                2.      Janssen’s Motion in Limine to Exclude Evidence or Argument
                        About the Alleged Price Benefits to the Public from
                        Defendants’ Biosimilar Product, Describing Inflectra as a
                        Generic Drug, or Concerning Janssen’s Prices, Revenues, and
                        Profits (“Janssen’s MIL No. 1”) (Dkt. No. 375; Dkt. No. 376, at
                        1-3)

         Janssen’s MIL No. 1 seeks to preclude Defendants from offering evidence or argument:

(a) that their biosimilar drug would benefit the public by being available at a lower price than

Remicade® or competing with Remicade®; (b) referring to Inflectra® as a generic drug; or (c)

concerning Janssen’s prices, revenues, or profits on Remicade®. Such evidence and argument

would not be relevant to any issue in this case and would only serve to prejudice the jury. It

should be excluded under Federal Rules of Evidence 402 and 403.

         Janssen’s MIL No. 1 will remain relevant if trials on liability and damages are bifurcated,

as Janssen believes they should be. However, this motion need not be resolved until prior to

trial.




                                                  3
         Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 4 of 8



               3.      Janssen’s Motion in Limine to Exclude Evidence or Argument
                       Regarding Prior Unrelated Proceedings in This Case and
                       Other Patents Relating to Infliximab or Methods for Using
                       Infliximab (“Janssen’s MIL No. 2”) (Dkt. No. 375; Dkt. No.
                       376, at 4-5)

       Janssen’s MIL No. 2 seeks to preclude Defendants from offering evidence or argument

regarding: (a) prior unrelated proceedings in this case, including this Court’s decisions granting

summary judgment that the asserted claims of the ’471 patent are invalid for obviousness-type

double patenting; and (b) patents covering infliximab or methods of using infliximab. Such

evidence and argument would not be relevant to any issue in this case and would only serve to

prejudice the jury. Such evidence and argument should therefore be excluded under Federal

Rules of Evidence 402 and 403.

       Janssen’s MIL No. 2 remains undecided and, in Janssen’s view, does not need to be

resolved before the close of damages discovery.

               4.      Janssen’s Motion in Limine to Exclude Evidence or Argument
                       of Non-Infringement Based on The Presence of Unclaimed
                       Ingredients as Contrary to the Court’s Claim Construction
                       Ruling ( “Janssen’s MIL No. 3”) (Dkt. No. 375; Dkt. No. 376,
                       at 5-8)

       Defendants contended that the term “cell culture media” in claim 1 of the ’083 patent

should be construed as limited to “chemically defined” or “protein-free” media and therefore not

to cover cell culture media like the Defendants’ that include unclaimed ingredients that are not

chemically defined or are proteins. (Dkt. No. 145, at 2-3.) The Court ruled in Janssen’s favor,

construing the term “cell culture media” in claim 1 as meaning “nutritive media for culturing

cells.” (Dkt. No. 226, at 5-6.) As explained in Janssen’s MIL No. 3, based on the Court’s

construction, Defendants should not be permitted to make arguments or introduce evidence

implying that the presence of unclaimed ingredients is indicative of non-infringement. Such


                                                  4
            Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 5 of 8



evidence and arguments are inadmissible under Fed. R. Evid. 402 or 403, as they are both

irrelevant and likely to confuse a jury.

           Janssen’s MIL No. 3 remains undecided and, in Janssen’s view, need not be resolved

before the close of damages discovery.

           B.     Defendants’ Motions

           Defendants brought a Daubert motion challenging the testimony of Janssen’s technical

experts. (Dkt. No. 339.) Defendants brought five additional motions in limine:

       •   Defendants’ Motion in Limine No. 1 to Preclude Evidence and Argument Regarding
           Alleged Copying (Dkt. No. 361)

       •   Defendants’ Motion in Limine No. 2 to Preclude Evidence and Argument Regarding
           Remicade® (Dkt. No. 363)

       •   Defendants’ Motion in Limine No. 3 to Preclude Evidence and Argument Regarding
           Discovery Communications (Dkt. No. 365)

       •   Defendants’ Motion in Limine No. 4 to Preclude Evidence and Argument from Janssen
           Concerning Change to Media Compositions from Singapore (Dkt. No. 370)

       •   Defendants’ Motion in Limine No. 5 to Preclude Argument Regarding Active Inducement
           Prior to April 2016 (Dkt. No. 372)

           All of Defendants’ motions in limine remain undecided. In Janssen’s view, they do not

need to be decided before the close of damages discovery.

III.       ANTICIPATED DAMAGES SUMMARY JUDGMENT MOTIONS

           In the October 12, 2017 lobby conference, the Court ordered that, after the close of

damages discovery on March 16, 2018, the parties are “to confer and report by March 30

whether either side feels it has a proper basis for a motion for summary judgment . . . .”

(10/12/2017 Lobby Conf. Tr. 5-6.) Janssen intends to comply with this order by the deadline set

by the Court. At this time, while damages discovery is still in its early stages, Janssen has not

identified which, if any, summary judgment motions it will file with respect to damages.

                                                    5
          Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 6 of 8



        In their submission of today, Defendants identified three damages-related summary

judgment motions that they seek to file. Although Defendants informed Janssen in August that

they were contemplating damages-related dispositive motions, they did not confer with Janssen

in connection with today’s submission.

        Janssen believes that the three damages-related summary judgment motions raised by

Defendants are premature and may turn out to be, at least in part, unnecessary. For example,

with respect to the first damages-related motion Defendants identified—concerning the

availability of damages with respect to extraterritorial sales of Inflectra®—Janssen has not yet

determined whether and, if so, on what basis, it will seek such damages. Janssen acknowledges

that the Federal Circuit’s decisions in Power Integrations, Inc. v. Fairchild Semiconductor Int’l,

Inc., 711 F.3d 1348 (Fed. Cir. 2013), and WesternGeco L.L.C. v. ION Geophysical Corp., 791

F.3d 1340 (Fed. Cir. 2015), limit the ability of patentees to obtain damages based on

extraterritorial sales. Janssen does not intend to pursue a damages theory contrary to controlling

law. 2 At this stage of the proceedings, prior to the completion of fact or expert discovery on

damages, 3 and before Janssen has fully developed its theories of damages, it would be premature

to engage in motion practice on this issue.


2
 We note that the Federal Circuit’s decision in WesternGeco is the subject of a pending petition for writ
of certiorari, (Case No. 16-1011), and the Supreme Court has called for the views of the Solicitor
General.
3
  In their submission of today, Defendants asserted that Janssen is seeking discovery based on
extraterritorial sales. Defendants’ financial benefit, both inside and outside the United States, from their
U.S.-based infringement of a U.S. patent is relevant to the economic value of the patented product to the
Defendants, and thus to the reasonable royalty it would command in a hypothetical negotiation. See, e.g.,
GE Healthcare Bio-Sciences AB v. Bio-Rad Labs., Inc., No. 1:14-CV-7080-LTS-SN, 2015 U.S. Dist.
LEXIS 159419 (S.D.N.Y. Nov. 25, 2015) (ordering production of foreign sales information because it is
“relevant to GE’s claim for damages for allegedly infringing activities in the United States since it has, at
a minimum, implications for the valuation of the invention” and is not “precluded by the presumption
against extraterritoriality”); see also Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 807 F.3d 1283,
1307 (Fed. Cir. 2015) (stating that defendant’s foreign sales were “strongly enough tied to its domestic
infringement as a causation matter to have been part of the hypothetical negotiation agreement”). The
                                                      6
          Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 7 of 8



        Defendants’ remaining proposed damages-related summary judgment motions concern

(1) whether Janssen is entitled to damages based on domestic sales of Inflectra® based on the

territorial limits on the patent laws and patent damages, and (2) the appropriate date for assessing

the availability of non-infringing alternatives. Both of these issues have already been the subject

of guidance from the Court after full briefing from the parties. (Dkt. No. 518.) Janssen does not

believe that any further order from the Court on these issues is necessary, or even possible, prior

to the close of damages discovery.

        To the extent that the Court intends to take any actions based on Defendants’ requests to

have early briefing on the damages-related summary judgment motions, Janssen respectfully

requests until next Thursday, October 26, 2017, to respond to Defendants’ requests.



Respectfully Submitted,

Dated: October 20, 2017
                                                           /s/ Heather B. Repicky__________
                                                           Heather B. Repicky (BBO # 663347)
Of Counsel                                                 hrepicky@nutter.com
Gregory L. Diskant (admitted pro hac vice)                 Alison C. Casey (BBO #688253)
gldiskant@pbwt.com                                         acasey@nutter.com
Aron Fischer (admitted pro hac vice)                       NUTTER MCCLENNEN & FISH LLP
afischer@pbwt.com                                          Seaport West
Andrew D. Cohen (admitted pro hac vice)                    155 Seaport Boulevard
acohen@pbwt.com                                            Boston, MA 02210
PATTERSON BELKNAP WEBB & TYLER LLP                         617-439-2000
1133 Avenue of the Americas                                FAX: 617-310-9192
New York, NY 10036-6710
212-336-2000                                               Attorneys for Plaintiff Janssen Biotech, Inc.
FAX: 212-336-2222




parties have not yet met and conferred in an attempt to resolve any dispute regarding the discovery of
such information. If a dispute remains, the parties will bring it to the Court’s attention as prescribed by
the Federal Rules of Civil Procedure and the Local Rules of this Court.
                                                      7
            Case 1:17-cv-11008-MLW Document 60 Filed 10/20/17 Page 8 of 8



                                  CERTIFICATE OF SERVICE
I certify that on October 20, 2017, this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing and if not so registered, that copies will be electronically mailed to
such parties or their counsel.



                                                     /s/ Heather B. Repicky
3711490.1




                                                8
